g25i2degase 3:17-cv-00072-NKM-JCH Document 564-émalril@éefag/26/19 Page 1of2 Pageid#: 6608

mM (Ss ma il christopher.cantwell <christopher.cantwell@gmail.com>
the story
4 messages
Hawes Spencer <hawesinsky@gmail.com> Tue, Aug 6, 2019 at 12:46 PM

To: Christopher Cantwell <christopher.cantwell@gmail.com>

Thanks for talking to me yesterday. Here is the admittedly brief story: https://vpm.org/news/articles/587 1/mass-shootings-
strengthen-backerss-resolve-in-charlottesville-lawsuit

Hawes Spencer, Journalist

Charlottesville, VA

Author of "Summer of Hate," a book about Charlottesville

About | Recent radio | FB | Twitter

p: 434.960.9343

e: hawesinsky@gmail.com

Christopher Cantwell <christopher.cantwell@gmail.com> Tue, Aug 6, 2019 at 2:27 PM
To: Hawes Spencer <hawesinsky@gmail.com>

Well, I'm very glad | have that recorded, because we both know that's going to be twisted into a threat by these lying
kikes.

[Quoted text hidden]

Regards,

Christopher Cantwell

Blogger at ChristopherCantwell.com
Host of Radical Agenda
631-791-5842

Skype: Radical Agenda

Hawes Spencer <hawesinsky@gmail.com> Tue, Aug 6, 2019 at 3:02 PM
To: Christopher Cantwell <christopher.cantwell@gmail.com>

FWIW, I would not have put it in the story had | construed it as threat.

Hawes Spencer, Journalist

Charlottesville, VA

Author of "Summer of Hate," a book about Charlottesville
About | Recent radio | FB | Twitter

p: 434.960.9343

e: hawesinsky@gmail.com

[Quoted text hidden]

Christopher Cantwell <christopher.cantwell@gmail.com> Tue, Aug 6, 2019 at 3:17 PM
To: Hawes Spencer <hawesinsky@gmail.com>

And when the Jews construe it that way, you'll understand the point | was making about Kaplan.
[Quoted text hidden]

Declaration of Christopher Cantwell:

Having been duly cautioned Christopher Cantwell declares and states as follows:
This declaration is made on the basis of personal knowledge.

The above emails are a true and accurate copy of documents from my GMail account.

Chris Cantwell

https://mail.google.com/mail/u/0?7ik=2df1196d57&view=pt&search=all&permthid=thread-f%3A 164 11368363209353 15&simpl=msg-f%3A164113683632... 1/1
Case STN CD Loy MICH Document 564-1 Filed 09/26/19 Page 2 of 2 Pageid#: 6609

Signature: ‘~
Chris Cantwell (Sep 25, 2019)

Email: christopher.cantwell@gmail.com
